






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00662-CV








In re Olga and Michael Leger









ORIGINAL PROCEEDING FROM WILLIAMSON COUNTY



					


M E M O R A N D U M   O P I N I O N


	

		Relators Olga and Michael Leger filed with this Court a petition for writ of
mandamus.  We deny relators' petition for writ of mandamus.  See Tex. R. App. P. 52.8(a).



						__________________________________________

						W. Kenneth Law, Justice

Before Chief Justice Law, Justices Kidd and B. A. Smith

Filed:   January 20, 2004


